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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


SECURITIES AND EXCHANGE COMMISSION,             §
                                                §
         Plaintiff                              §
                                                §
v.                                              §
                                                §   CASE NO.: 3:20-CV-822-G
JEFFREY D. CORDES, WILLIAM M.                   §
AISENBERG, AND THOMAS J. FELTON,                §
                                                §
         Defendants.                            §



           DEFENDANT THOMAS J. FELTON’S MOTION TO STRIKE
        IMMATERIAL CONTENT AND DISMISS COMPLAINT AND BRIEF IN
                             SUPPORT




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       Comes now Defendant Thomas J. Felton (“Mr. Felton”) pursuant to Rules 12(f), 12(b)(6),

and 9(b) of the Federal Rules of Civil Procedure and files this Motion To Strike Immaterial Content

and to Dismiss Plaintiff’s Complaint and Brief in Support and would show as follows:

            I.      INTRODUCTION AND SUMMARY OF THE ARGUMENT

       A review of the Securities and Exchange Commission’s (“SEC” or “Plaintiff”) complaint

reveals that it was primarily a vehicle for a settlement with Ironclad Performance Wear Corp.’s

(“Ironclad”) former CEO, Jeffrey Cordes (“Cordes”), and former CFO, William Aisenberg

(“Aisenberg”). After completing its investigation of a barely public, insider-controlled, thinly-

traded, now bankrupt company and settling with the CEO and CFO, the SEC is trying to hold one

last person responsible, but the SEC is going too far. The conclusory allegations against Mr. Felton

in the Complaint read like what they are, an afterthought.

       The Complaint’s Statement of Facts includes a footnote that is an apparent attempt to

inappropriately attack Mr. Felton by suggesting he was somehow affiliated with alleged unrelated

wrongdoing. That footnote should be stricken.

       More importantly the Complaint should be dismissed in its entirety for a failure to state a

claim as the SEC engages in impermissible “puzzle” and “shotgun” pleading, presents its

allegations in an insufficient and conclusory manner, fails to establish materiality of alleged

misrepresentations, fails to establish that any of Mr. Felton’s alleged conduct fits within the ambit

of the fraud statutes he is alleged to have violated, and misrepresents Mr. Felton’s conduct in cited

communications.




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       The deficiencies with the various claims directed against Mr. Felton are summarized in the

following chart:


     Deficiency                                     Claim        1    2   3    4   6    8   9   11

 Puzzle Pleading                                                 X   X    X   X    X   X    X   X

 Shotgun Pleading                                                X   X    X   X    X   X    X   X

 Conclusory Allegations/Fails to Meet Heightened Pleading        X   X    X   X    X   X    X   X
 Standard
 Failure to Allege Materiality                                   X   X    X   X    X        X

 Failure to Allege Offer, Purchase, or Sale of a Security        X   X    X   X


       Additionally, many of Plaintiff’s factual allegations (including, but not limited to, those

related to Customers A, B, D, and G) are also deficiently pleaded because, among other things,

they are conclusory, fail to meet heightened pleading for averments of fraud, and misrepresent the

evidence that is incorporated into the complaint.

           II.     FACTUAL BACKGROUND AND PROCEDURAL HISTORY

       In 2014, Ironclad hired Cordes as CEO and Aisenberg as CFO to turnaround its dismal

financial performance. Cordes and Aisenberg were unable to pull Ironclad out of its tailspin and

they were fired in 2017 in the wake of allegations of impropriety. Mr. Felton’s employment was

terminated by the new management.

       On April 8, 2020, the SEC filed its Complaint (the “Complaint”) in this case against

Cordes, Aisenberg, and Mr. Felton. [Dkt. No. 1]. The same day, the SEC filed two unopposed

motions for judgment against Cordes and Aisenberg, which the Court granted the following day.

[Dkt. Nos. 6–9].



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         Mr. Felton is not like Cordes and Aisenberg. Both were extremely sophisticated, C-level

employees. Mr. Felton, on the other hand, was an information technology (“IT”) and supply-chain

manager, whose understanding of accounting and related responsibilities was limited. Tellingly,

the SEC completely fails to allege any facts that suggest why Mr. Felton would have had any

motive or incentive to violate the law or that he made any money based on his alleged actions.1

The SEC’s interpretation of the alleged events at Ironclad is not plausible and that is reflected in

its Complaint. As set forth below, the SEC has failed completely to state a claim against Mr.

Felton upon which relief may be granted and the Complaint should be dismissed.

                             III.      APPLICABLE LEGAL STANDARDS

         Under Rule 12(f), the Court may strike “any redundant, immaterial, impertinent, or

scandalous matter” from a pleading. Allegations are immaterial or impertinent if they have no

possible relationship to the controversy. The Court may grant a motion to strike based on

immateriality or impertinence when the statement “to be stricken has no possible relation to the

controversy[.]” United States v. Coney, 689 F.3d 365, 379 (5th Cir. 2012) (internal quotation marks

and citations omitted). Statements are not scandalous under Rule 12(f) if they are “directly relevant

to the controversy at issue and are minimally supported in the record.” Id. (internal quotation

marks omitted and citations omitted).

         Under Rule 12(b)(6), “[t]o survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).


1 Prior to filing this lawsuit, the SEC notified Mr. Felton that it believed he had violated 15 U.S.C. § 77q(a)(2).
Proving a violation of that section would have required the SEC to show that Mr. Felton personally received money
or property based on his alleged violations. See 15 U.S.C. § 77(q)(a)(2) (“It shall be unlawful . . . to obtain money or
property by means of any untrue statement of a material fact . . . .”) (emphasis added). Conspicuously absent from
the SEC’s complaint is any allegation that Mr. Felton violated that section—a tacit admission that Mr. Felton did not
receive any money or property based on his alleged actions.


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“A claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. (citing

Twombly, 550 U.S. at 556). While the Court is required to accept as true the complaint’s factual

allegations, drawing all reasonable inferences in favor of the plaintiff, mere labels, conclusions,

“formulaic recitation[s] of the elements[,]” “naked assertion[s] devoid of further factual

enhancement[,]” and “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. at 678 (internal quotation marks and citation omitted).

After disregarding the conclusory allegations, the petition must contain sufficient well-pleaded

factual allegations to “nudge[] [plaintiff’s] claims . . . across the line from conceivable to

plausible.” Id. at 680–81 (internal quotation marks and citation omitted).

       Under Rule 9(b), the plaintiff must “state with particularity the circumstances constituting

fraud or mistake.” Fed. R. Civ. P. 9(b). The Fifth Circuit has instructed that Rule 9(b) requires a

complaint to allege, “time, place, and contents of the false representations, as well as the identity

of the person making the misrepresentation and what that person obtained thereby.” Owens v.

Jastrow, 789 F.3d 529, 535 (5th Cir. 2015) (internal quotation marks and citation omitted). In

other words, a complaint alleging fraud must provide the “who, what, when, where, and how” of

the defendant’s alleged conduct. Benchmark Elecs., Inc. v. J.M. Huber Corp., 343 F.3d 719, 724

(5th Cir. 2003) (internal quotation marks and citation omitted). The Fifth Circuit has explained

the purpose of Rule 9(b) as follows: “[t]he heightened pleading standard for fraud claims supplies

defendants with the information they need to prepare responses, prevents discovery intended as a

mere fishing expedition, and protects the defendants’ reputations from baseless allegations.” U.S.

ex rel. Nunnally v. W. Calcasieu Cameron Hosp., 519 Fed. Appx. 890, 893 n.2 (5th Cir. 2013).




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       Crucially, Rule 9(b)’s applicability is not limited to claims that include fraud or mistake as

elements. Rather, the heightened pleading standard applies to all averments of fraud. Lone Star

Ladies Inv. Club v. Schlotzsky’s Inc., 238 F.3d 363, 368 (5th Cir. 2001). Where averments of fraud

are made in a claim for which fraud is not an element, failure to satisfy the heightened pleading

requirements leaves the court with an option. The court may disregard each inadequately pleaded

factual allegation of fraud and then analyze the remaining factual allegations to see whether a claim

has been stated, but the court is not required to the plaintiff’s work for him. Id. Alternatively, as

the Fifth Circuit has explained: “A district court need not rewrite such a deficient complaint. It

may dismiss, without prejudice, placing that responsibility upon counsel.” Id.

                          IV.     ARGUMENT AND AUTHORITIES

       A.      The Court should strike the immaterial and scandalous Footnote 1.

       As an initial matter, in Footnote 1, the SEC attempts to cast aspersions on Mr. Felton by

alleging he was formerly employed at a company where Cordes and Aisenberg were accused of

wrongdoing. See Comp. at 3. The matter referenced by the SEC was a civil lawsuit involving

private parties, which was settled—Mr. Felton was not a party to the civil lawsuit or the settlement.

Importantly, these allegations have no possible relationship to the controversy in this case, but are

problematic because they suggest, without any supporting allegations, that Cordes and Aisenberg

engaged in wrongdoing previously, and that Mr. Felton was somehow involved. Even if the SEC

had alleged sufficiently Mr. Felton’s involvement in collateral misconduct, however, the Court

would presumably exclude any related evidence under Federal Rule of Evidence 404(b). In short,

Footnote 1, is immaterial, impertinent, and scandalous. Therefore, the Court should strike it from

the Complaint and not consider it for any purpose including whether the SEC has stated a claim

against Mr. Felton.



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       B.      The SEC improperly relies upon both shotgun and puzzle pleading.

       The SEC’s entire Complaint engages in “puzzle” and “shotgun” pleading, two

impermissible practices that seek to force Mr. Felton and the Court to speculate which, if any, of

the factual paragraphs are connected to the eight claims alleged against Mr. Felton and how they

are supposedly connected.

       A complaint that isolates the allegations and elements while leaving to the Court, and the

Defendant, to infer connections constitutes impermissible “puzzle pleading” and may be dismissed

for failure to state a claim. See In re Alamosa Holdings, Inc. Sec. Litig., 382 F. Supp. 2d 832, 857–

58 (N.D. Tex. 2005) (“[A]ssembling puzzles is not the duty of the Court . . . . [t]he Court will not

waste its resources attempting to construe which statements are actionable and why each is

actionable.”). “Shotgun pleadings” are lengthy pleadings that incorporate by reference all

preceding paragraphs while progressing through multiple counts. Zucker v. Farish, No. 3:18-CV-

01790-K, 2018 WL 6570867, at *3 (N.D. Tex. Dec. 12, 2018). Shotgun pleadings may be

dismissed because they violate the pleading standards articulated in both Rules 8 and 9. Id. (citing

Fed. R. Civ. P. 8(a) & 9(b)).

       The SEC’s Complaint in this matter engages in both shotgun and puzzle pleading and thus

fails to meet the pleading requirements of Rule 9(b) by stating allegations of fraud with

particularity and generally fails to adhere to the basic pleading standards of Rule 8(a) that require

short and plain statements.

       The Complaint recites forty-one paragraphs of facts and background before leveling eleven

claims against the Defendants, eight of which name Mr. Felton. Each claim begins with the same

sentence before launching into a bare-bones recitation of the elements, “Plaintiff re-alleges and

incorporates paragraphs 1 through 41 of this Complaint by reference as if set forth verbatim in this



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Claim.” In this way “the claims section[] simply paraphrase[s] or quote[s] the language of the

statutes and rules, leaving Defendants (and the Court) with the task of combing the Complaint and

inferring, rightly or wrongly, what specific conduct the SEC intended to assert as a violation.” See

S.E.C. v. Fraser, No. CV-09-00443-PHX-GMSC, 2009 WL 2450508, at *14 (D. Ariz. Aug. 11,

2009) (dismissing certain claims brought by SEC for failure to plead adequately).

       Here, Mr. Felton is left to wonder which of the forty-one paragraphs allegedly supports

each of the claims against him since the vast majority concern the conduct of his co-defendants,

impute knowledge of conduct to Mr. Felton in a conclusory manner, and/or generally allege that

“Ironclad” knew of or acted in a certain fashion. “Complaints of this type set forth an excessive

number or [sic] facts before alleging that all the provided facts support various counts in the

complaint, with the result being that each count is replete with factual allegations that could not

possibly be material to that specific count, and that any allegations that are material are buried

beneath innumerable pages of rambling irrelevancies.” Zucker, 2018 WL 6570867, at *3 (internal

quotation marks and citations omitted). The result is a poorly pleaded, long-winded, and prolix

Complaint that states little with particularity and fails to meet the pleading standards of Rule 8, let

alone the heightened standards required by Rule 9(b) for the claims alleging fraud. See Williams

v. WMX Techs., Inc., 112 F.3d 175, 178–180 (5th Cir. 1997) (reversing district court and

remanding with instructions to dismiss for failure to comply with the particularity requirement of

Rule 9(b)).

       To illustrate the difficult situation Mr. Felton and this Court are placed in as a result of

Plaintiff’s shotgun and puzzle pleadings, Defendant directs the Court to just a small sample of the

factual paragraphs, which, although incorporated into each and every Claim, appear to have

nothing to do with Mr. Felton, leaving him to wonder if there is a connection he and the Court are



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expected to infer. For example, paragraph thirty-six describes recognition of revenue from

canceled orders “[t]hrough Cordes and Aisenberg’s actions and directives. . . .” See Comp. ¶ 36.

Mr. Felton is not mentioned as an actor with respect to the alleged wrongful recognition of this

revenue. Another paragraph concerns revenue that was allegedly recognized despite the customer

never paying the invoice and the goods having never been delivered. See Comp. ¶ 33. Once again,

Mr. Felton is not mentioned at all with respect to these transactions, although Plaintiff

indiscriminately incorporated this paragraph as part of the basis for each of the eight claims leveled

against Mr. Felton—including the two claims that are directed at him only.

       In addition to the problems posed by the blanket incorporation of apparently irrelevant

paragraphs into each Claim against Mr. Felton, problems are presented when the Court and Mr.

Felton must attempt to decipher which of the possibly relevant paragraphs specifically support

each Claim. Plaintiff’s second and third claims against Mr. Felton: Aiding and Abetting violations

of the Antifraud Provisions of the Exchange Act Section 10(b) and Rules 10b-5(a) and 10b-5(c)

and Sections 17(a)(1) and 17(a)(3), respectively illustrate this problem. Plaintiff incorporates all

of the background and factual paragraphs into both claims and then simply recites the elements of

each claim without any reference to specific conduct or statements, leaving Mr. Felton and this

Court to try and decipher exactly what alleged statements or actions by Mr. Felton, “employed

devices, schemes, and artifices to defraud” and which alleged acts, practices, and courses of

business “operated as a fraud or deceit upon purchasers, prospective purchasers, and other

persons.”

       Similarly, Claim Nine exemplifies the problems presented by the SEC’s Complaint. In its

Ninth Claim for Relief, the SEC alleges “Misrepresentations and Misconduct in Connection with

Preparation of Required Reports Violations of Exchange Act Rule 13b2-2 Against All



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Defendants.” After generally incorporating the first forty-one paragraphs, the SEC then essentially

quotes verbatim from the cited regulations. See Comp. ¶¶ 70-73.

         There is no hint of what the material untrue facts were or what the material omissions may

have been, let alone any allegations that suggest how Mr. Felton specifically violated Section 13.

Discerning how Mr. Felton violated the reporting provisions of the Exchange Act is especially

difficult because Mr. Felton did not sign any of the SEC filings the Plaintiff alleges are inaccurate.2

Mr. Felton is simply left to guess how the SEC believes he has violated the law in the absence of

particularized claims.

         In total, of the twenty-eight paragraphs that comprise the eight claims against Mr. Felton,

eight merely incorporate all forty-one background and factual paragraphs, eight state that

injunctive relief is necessary, and nine essentially copy and paste elements from the relevant

statutes and regulations. Ultimately, only three paragraphs—sixty-one, sixty-eight, and seventy-

five—contain the non-conclusory, albeit essentially identical, factual allegation that Ironclad’s

stock was registered.

         The puzzle and shotgun pleading relied upon by the SEC is confusing and attempts to force

Mr. Felton and this Court to divine how it all might fit together. The duty to present succinct and

clear pleadings rests with the Plaintiff and for this reason the Court should dismiss this Complaint

for failure to state a claim.




2 The Fifth Circuit has stated that in deciding a motion to dismiss for failure to state a claim, it is appropriate for a
court to take judicial notice of public disclosure documents that are required to be filed with the SEC and are actually
filed with the SEC. See Lovelace v. Software Spectrum Inc., 78 F.3d 1015, 1018 & n. 1 (5th Cir. 1996).



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       C.      The SEC presents its allegations against Mr. Felton in an impermissibly
               conclusory manner and fails to meet the heightened pleading standard.

       The Supreme Court has explained that conclusory allegations must be disregarded because

they are not entitled to the assumption of the truth. See e.g., Iqbal, 556 U.S at 678–80. Even non-

conclusory allegations that are entitled to the assumption of truth must combine to state a plausible

claim for relief. Id. Moreover, in the context of the current case, all of the claims must also be

analyzed initially under the heightened pleading standard of Rule 9(b) because all claims either (1)

contain fraud as an element or (2) incorporate Plaintiff’s allegations that Mr. Felton has engaged

in fraudulent conduct. Lone Star, 238 F.3d at 368.

       Conclusory statements do not satisfy the basic pleading requirements of Rule 8(a), let alone

the heightened pleading standard Plaintiff must satisfy with respect to its averments of fraud which

require pleading with particularity. Under Rule 9(b), a court cannot credit a complaint’s averments

of fraud unless they meet the heightened pleading standard by alleging the necessary factual detail.

Id. In this case, the Complaint is rife with conclusory allegations of fraud that are not supported

by the necessary factual detail.

       The paragraphs constituting the claims themselves (the “Claims Paragraphs”) are almost

entirely conclusory and appear to be cut-and-pasted from the corresponding statutes and

regulations. Moreover, it is difficult, if not impossible to connect the factual allegations in the

Complaint to the eight claims against Mr. Felton given the near complete lack of specifics in the

Claims Paragraphs, but this task is further complicated by the insufficient manner in which

Plaintiff has attempted to allege fraudulent conduct by Mr. Felton in the forty-one paragraphs it

has cobbled together in its attempt to support its eight claims against him. Many of the allegations

in the factual paragraphs concerning Mr. Felton are conclusory averments of fraud which lack

sufficient factual support. Therefore, those averments are not entitled to the assumption of truth


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and must be disregarded as a matter of law. The following represent a sampling of Plaintiff’s use

of conclusory statements and resulting failure to satisfy the basic and heightened pleading

standards.

       1.     Conclusory allegations related to specific customers.

       The following paragraphs dealing with Customer A and Customer B exemplify the kind

of conclusory statements upon which SEC is attempting to base its claims against Mr. Felton:

       “Customer A entered into each of the purchase transactions pursuant to a verbal ‘backstop’
       agreement with Cordes that guaranteed that Ironclad would repurchase any gloves
       Customer A did not sell for the original price, plus the cost of relabeling/repackaging, and
       a commission for Customer A. Felton was aware of the backstop agreement before the
       sale to Customer A occurred. Felton was also aware that Customer A did not perform
       any value-added services to earn a commission.”

Comp. ¶ 29 (emphasis added).

       “In 2015, Ironclad entered into a Canadian distribution agreement with Customer
       B. In the fourth quarter of 2015, despite the fact that Customer B had not paid any
       of its prior invoices, Ironclad offered Customer B extended payment terms for a
       new sale and recognized $1,289,330 in revenue. Pursuant to a December 7, 2015
       letter from Cordes to Customer B, “some of the order, after billing, will be held for
       you in California at a separate warehouse until you can clear your Canada
       warehouse.” In fact, gloves totaling $976,490 (11.6 percent of Ironclad’s fourth
       quarter 2015 net sales) never left Ironclad’s warehouse, and Customer B never
       made any payments on any invoices. In the first half of 2016, Ironclad brought back
       gloves from the Customer B inventory that was held in the third-party warehousing
       company’s warehouse as needed to sell to other customers without completing any
       return authorizations. Felton oversaw these transactions. When it became clear
       that Customer B was facing bankruptcy, Ironclad negotiated the return of the
       remaining Customer B inventory, and return authorizations were processed in
       September, October, and November 2016.”

Comp. ¶ 32 (emphasis added).

       What is a “backstop agreement,” how was Mr. Felton aware of it, and why is it a problem?

How and when did he become aware that Customer A did not perform any value-added services?

In what manner did Mr. Felton oversee the transactions involving Customer B?                   What

involvement, if any, did Mr. Felton have with revenue recognition involving these transactions?


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What did Mr. Felton obtain by his alleged actions? That the answers to these basic questions are

found nowhere in the Complaint proves that the SEC fails to present the facts necessary to meet

the “plausibility” standard of Rule 8, let alone the heightened standard under Rule 9(b) requiring

the “who, what, when, where, and how” when averments of fraud are at issue. Cf., Am. Realty Tr.,

Inc. v. Matisse Capital Partners, LLC, No. 3:00-CV-1801-G, 2001 WL 1343765, at *2–3 (N.D.

Tex. Oct. 26, 2001) (granting a motion for a more definite statement where Plaintiff had alleged

the “who” of its fraud claim but failed to allege the “when, where, and how”).

       Similar issues exist with the allegations related to Customer G, in which the only sentence

addressing Mr. Felton alleges: “In early 2017, Cordes, Aisenberg, and Felton sent numerous emails

both internally and to the customer describing the ‘critical’ and ‘serious’ need to obtain a purchase

order from [Customer G].” Comp. at ¶ 39. Even assuming Mr. Felton sought to obtain a purchase

order from Customer G, there are no allegations that could plausibly tie him to any impropriety.

Is it not true that virtually all manufacturing businesses depend on customer orders and treat them

as critical to their survival? More is required.

       2.      Conclusory allegations of knowledge, recklessness, and negligence.

       The Complaint also fails to meet the pleading threshold of Rule 8 when it attempts to

impute implausibly specialized knowledge to Mr. Felton and alleges he was reckless or negligent

without alleging supporting facts that plausibly could lead to such conclusions. For example, the

Plaintiff attempts to impute Mr. Felton with specialized accounting knowledge in the form of the

Generally Accepted Accounting Principles or “GAAP” despite the fact that he has no accounting

background. As the Complaint states, “Under Section 605-10-25 of [GAAP] delivery of goods is

a key factor in determining whether revenue has been realized and earned, and it is inappropriate,

with limited exceptions not applicable here, to recognize revenue for products that have not yet



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shipped.” Comp. at ¶ 18. The SEC did not even allege that Mr. Felton had any education or training

in accounting or facts that would suggest his knowledge of specialized accounting principles is

even plausible.

       Notably, in S.E.C. v. Shanahan, the Eighth Circuit Court of Appeals upheld a judgment as

a matter of law in favor of a defendant facing a civil enforcement action for securities fraud, proxy

solicitations violations, and aiding and abetting for reasons including the fact that the SEC had

failed to prove scienter or negligence. 646 F.3d 536, 543–48 (8th Cir. 2011). The defendant was

a director of the company who was accused of violating securities laws when he participated in

the granting of backdated stock options to corporate officials, the issuance of which was said to be

contrary to the corporation’s public representations. Id. at 539–541. The Court held that the SEC

had failed to establish scienter or negligence where the defendant “had no personal expertise”

regarding “complex issues of . . . accounting” and related issues and the SEC failed to present

evidence the defendant violated an applicable standard of reasonable care[.]” Id. at 543–548.

       Similarly, in this case, the SEC alleges no facts that can plausibly lead to the conclusion

that Mr. Felton possesses the kind of expert knowledge necessary to support allegations such as

the following:

       Felton approved closing orders for unshipped products, understood that his
       approval would trigger Ironclad to recognize revenue for those products, and knew
       that such revenue recognition violated relevant accounting policies and inflated
       Ironclad’s reported revenues.

Comp. ¶ 20 (emphasis added).

       The Complaint is similarly devoid of allegations that could plausibly lead to the conclusion

that Mr. Felton was aware of the specific GAAP provisions dictating when revenue is recognized.

At this stage, the SEC is required to supply a brief and concise statement explaining how Mr.




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Felton, with no experience in accounting, could have at least acted negligently with respect to the

alleged violations of the GAAP rules regarding revenue recognition. It has failed to do so.

       Additionally, the allegations that Mr. Felton acted recklessly are insufficient to satisfy the

pleading standards. The Fifth Circuit has stated that “severe recklessness can supply the scienter

required to prove securities fraud.” Abrams v. Baker Hughes Inc., 292 F.3d 424, 430 (5th Cir.

2002). Importantly, however,

       [s]evere recklessness is limited to those highly unreasonable omissions or
       misrepresentations that involve not merely simple or even inexcusable negligence,
       but an extreme departure from the standard of ordinary care, and that present a
       danger of misleading buyers or sellers which is either known to the defendant or is
       so obvious that the defendant must have been aware of it.

Id. (internal quotation marks omitted). It is insufficient to allege that a “defendant should have

known that a material statement or omission was false or misleading.” See Shanahan, 646 F.3d at

544. Here, in the Claims Paragraphs in which the Plaintiff alleges Mr. Felton acted recklessly, it

does not provide the factual allegations to support that conclusion. Among other things the SEC

failed to allege facts that if true would establish an extreme departure from the standard of ordinary

care. A review of the Complaint suggests that the SEC did not attempt to support its recklessness

allegations with facts, but instead threw a recklessness allegation into several Claims Paragraphs

in a last-ditch attempt to hedge against its failure to allege knowledge sufficiently.

       A similar flaw exists in Claim Three. After copying-and-pasting the elements of a violation

of Sections 17(a)(1) and 17(a)(3), Plaintiff states that, “Defendants were at least negligent in the

above-referenced conduct.” See Comp. ¶ 51. However, nowhere in the Complaint does Plaintiff

allege the facts necessary to support the assertion that Mr. Felton acted negligently. Nowhere in

the Complaint does Plaintiff describe the duty that Mr. Felton allegedly owed, or the standard of

care that he supposedly violated. Again, it appears the SEC is attempting to hedge against its



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insufficient allegations of knowledge with a single sentence completely unsupported by the facts

alleged in the Complaint. The Court should not countenance this ploy.

         3.       Conclusory allegations of aiding and abetting.

         The Complaint is similarly conclusory, and in part silent, in alleging aiding and abetting

violations. As an initial matter, the SEC failed completely to allege the statute or regulation under

which it is attempting to hold Mr. Felton liable for aiding and abetting liability. In addressing

aiding and abetting the Fifth Circuit has stated “the SEC must prove: (1) a primary violation of the

securities laws; (2) that the aider and abettor had knowledge of this violation and of his or her role

in furthering it; and (3) that the aider and abettor knowingly provided substantial assistance in the

commission of the primary violation.” Sec. & Exch. Comm'n v. Life Partners Holdings, Inc., 854

F.3d 765, 778 (5th Cir. 2017).3 Moreover, to satisfy the “substantial assistance” component of

aiding and abetting, the SEC must show that the defendant “in some sort associated himself with

the venture, that he participated in it as in something that he wished to bring about, and that he

sought by his action to make it succeed.” S.E.C. v. Apuzzo, 689 F.3d 204, 206 (2d Cir. 2012)

(internal quotations and annotations omitted).

         Here, however, Plaintiff has failed entirely to provide support for the conclusory assertion

that Mr. Felton has aided and abetted any violations. Owing to the pleading deficiencies identified

elsewhere in this motion, the SEC has not pleaded facts sufficient to allege what primary violation




3 In Life Partners, the Fifth Circuit noted “The Dodd–Frank Act of 2010 amended Section 20(e) to add the words ‘or
recklessly’ after ‘knowingly.’ Dodd–Frank Wall Street Reform and Consumer Protection Act, Pub.L. No. 111–203,
124 Stat. 1376, § 929O (codified at 15 U.S.C. § 78t(e))” 854 F.3d at 778 n.8. The addition of the word “recklessly”
to the statute was intended to clarify–not substantively change–the law. S.E.C. v. Big Apple Consulting USA, Inc.,
783 F.3d 786, 801 (11th Cir. 2015). Therefore, the term “recklessly” in 15 U.S.C. § 78t(e) should be interpreted as
requiring severe recklessness, i.e., an extreme departure from ordinary care that is addressed more fully above. Given
that 15 U.S.C. § 77o(b) was added by Dodd-Frank and contains materially identical language, the same analysis should
be applied to that section as well.



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Mr. Felton allegedly supported, his knowledge of the violation, or how he knowingly rendered

substantial assistance.

       For example, Claim Four alleges that Mr. Felton aided and abetted Cordes and Aisenberg

by substantially assisting them in violating Section 17(a)(1) and (3) of the Securities Act, but it is

not clear what actions constituted the alleged primary violations. Additionally, the factual

allegations to support Mr. Felton’s alleged knowledge and substantial and knowing assistance are

not contained in the Claims Paragraphs and other than the wholesale incorporation of the entire

factual section there is no indication how the Claims Paragraphs are linked to the factual

allegations in the Complaint. Claims Six and Eight are even more problematic in that they allege

that all Defendants aided and abetted violations of the reporting provisions without attributing any

specific conduct to any specific Defendant. The Claims alleging aiding and abetting (Claims Two,

Four, Six, and Eight ) are insufficiently pleaded and should be dismissed.

       D.      The SEC fails to allege materiality sufficiently.

       In the context of a securities fraud action, a “misstatement or omission is material if there

[is] a substantial likelihood that the [misstatement or omission] would have been viewed by the

reasonable investor as having significantly altered the total mix of information made available.”

Rosenzweig v. Azurix Corp., 332 F.3d 854, 865 (5th Cir. 2003) (internal quotation marks and

citations omitted). Furthermore, “[m]ateriality is not judged in the abstract, but in light of the

surrounding circumstances.”       Id. at 866 (internal quotation marks and citation omitted).

Materiality is also an element of violations of Section 13(a) of the Exchange Act. See e.g., SEC v.

Life Partners Holdings, Inc. 854 F.3d 765, 779 (5th Cir. 2017).             Plaintiff must therefore

demonstrate that the alleged fraud on the part of Mr. Felton sufficiently alleges material




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misrepresentations in order to properly plead Claims Six and Nine in addition to the claims that

include fraud as an element, Claims One through Four.

       In paragraph forty, the SEC makes the global and conclusory allegation that Ironclad’s

public filings were materially misleading. As to Mr. Felton, who was not responsible for Ironclad’s

filings, even assuming he did everything alleged in the Complaint, most of the allegations lack the

details that might tend to support the conclusion the materiality element would be met.

       A glaring example of the SEC’s failure to allege the necessary facts related to materiality

is found in paragraph twenty-one. Specifically, the SEC references a January 2017 email in which

Mr. Felton refers to three orders that need to be moved to another location before auditors arrived.

See Comp. ¶ 21. The SEC does not identify the quarter in which these revenues were recognized,

nor does it state the amount of money involved in the transactions. Defendant does not ask this

Court to determine what amount of improperly recognized revenue would be “material” as a matter

of law, since the exercise would be meaningless given Plaintiff’s failure to plead even an estimate.

It is surely the duty of Plaintiff to allege an amount of revenue or even a percentage of quarterly

revenue supposedly inflated as a result of the alleged inventory move so that this Court and

Defendant can determine if the alleged misrepresentation could even be considered material.

       If the three orders are from the fourth quarter of 2016, by the Plaintiff’s own calculations,

thirteen of the orders compromised only 5% of Ironclad’s quarterly revenue. See Comp. at ¶ 17.

But the Plaintiff’s allegation against Mr. Felton relies on only three of those thirteen orders. Do

the orders constitute 0.1% of the total quarterly revenue? Do they constitute 4.5% of the revenue?

The Complaint provides no answer. Mr. Felton and this Court are therefore left to ponder what

amount of money Plaintiff alleges was improperly recognized and unable to determine if the

amount in question is even within the realm of materiality. Due to this insufficiency in the



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Complaint, this Court should not consider the allegations in paragraph twenty-one or similar

paragraphs to have sufficiently alleged materiality or consider them in support of any for which

materiality is an element.

       E.       The SEC fails to allege Mr. Felton’s alleged actions occurred “in the offer or
                sale” or in “connection with the purchase or sale” of a security.

       The SEC fails to allege that Mr. Felton’s alleged actions were “in the offer or sale of any

securities” (15 U.S.C. § 77q(a)) or were in “connection with the purchase or sale” of securities (15

U.S.C. § 78j(b); 17 C.F.R. § 240.10b–5). Setting aside the conclusory, cut-and-paste allegations

in paragraph 6 and the Claims Paragraphs, that are not entitled to the presumption of truth, there

is only one sentence in the entire Complaint that even attempts to make allegations of an offer,

sale, or purchase to support the SEC’s first four claims: “During the Relevant Period, Ironclad

issued stock to its employees upon the exercise of employee stock options and publicly disclosed

proceeds from the issuance of that stock.” Comp. at ¶ 6. This allegation is insufficient for two

main reasons.

       First, in alleging an issuance of stock to employees, the SEC stops short of asserting that

there was ever an “offer,” “purchase,” or “sale” of securities. This is a fatal omission because it

cannot be assumed that an offer, purchase, or sale ever occurred. Courts have found that whether

employee stock options involve an offer or sale of securities depends on the specifics of the

arrangement—allegations that are completely absent from the SEC’s Complaint in this case. See,

e.g., Lampkin v. UBS Fin. Servs., Inc., 925 F.3d 727, 736 (5th Cir.), cert. denied, 140 S. Ct. 389,

205 L. Ed. 2d 218 (2019) (holding that employers grant of stock options to its employees did not

involve the “purchase or sale” of securities and affirming the district court’s dismissal of plaintiffs’

complaint alleging securities fraud); In re Cendant Corp. Sec. Litig., 76 F. Supp. 2d 539, 544–45

(D.N.J. 1999) (collecting cases analyzing whether particular plans involved a purchase or sale or


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securities). Additionally, even the SEC has acknowledged that the applicability of anti-fraud

provisions depends on the specific characteristics of the employee benefit plan in question. For

example, in SEC Release No. 31-6188, the SEC provided examples of the types of employee

benefit plans that would not involve the offer or sale of securities. Employee Benefit Plans, S.E.C.

Securities Act Release No. 33-6188, 1980 WL 29482 (Feb. 1, 1980), Exhibit A, Appx. at 8–13.

       Second, even assuming the SEC had alleged sufficiently an offer, sale, or purchase of

securities, there are no allegations tending to show a connection with Mr. Felton’s alleged actions.

Importantly, the unidentified stock issuance alleged in paragraph six supposedly occurred

sometime during “the Relevant Period” – that is “[f]rom at least December 2015 through June

2017.” Comp. at ¶ 1. The timing matters. For example, if the SEC had adequately alleged a sale

of securities that occurred in December 2015, how could that possibly be connected to any actions

that allegedly occurred later in time? After all, “there is little justification for penalizing alleged

omissions or misstatements which occur [after the relevant decision] and which have no effect on

the decision.” Cf. APA Excelsior III L.P. v. Premiere Techs., Inc., 476 F.3d 1261, 1267 & 1276

(11th Cir. 2007) (internal quotation marks and citations omitted) (discussing the commitment

theory, and illustrating the obvious reality that timing is necessarily central to the issue of whether

the requisite connections exist).

       Here, the SEC’s abject failure to allege an offer, sale, or purchase of securities in a non-

conclusory manner much less to allege the timing of such offer, sale, or purchase of securities

means its first four claims must be dismissed.

       F.      Allegations concerning Mr. Felton’s alleged deceptive alteration of paperwork
               are false as demonstrated by full versions of the referenced communications.

       The Fifth Circuit has “held that [d]ocuments that a defendant attaches to a motion to

dismiss are considered part of the pleadings if they are referred to in the plaintiff’s complaint and


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are central to [its] claim.” Bosarge v. Miss. Bureau of Narcotics, 796 F.3d 435, 440 (5th Cir. 2015)

(internal quotation marks omitted) (first alteration in original).

       Here, in paragraph thirty-four, the SEC refers to a series of communications between

Cordes and Customer D [Action Specialties] and even quotes from the same. Given that this

paragraph contains a significant portion of the non-conclusory allegations against Mr. Felton in

the entire Complaint, it appears the Plaintiff believes those communications are central to its

claim(s). Therefore, the Court may consider the attached emails without converting this 12(b)(6)

motion into one for summary judgment.

       A review of the actual emails reveals that Mr. Felton was not “concealing” anything but

was instead correcting inaccurate documents. More specifically, in December 2016, Cordes was

communicating directly with Lenny Lipari, the President of Action Specialties about potential

transactions. See Exhibit B, Appx. at 42. On December 29, 2016 Cordes wrote to Lipari:

        Lenny to be candid, rea ll y want to make the order with you as it helps us and you. As per my other email we wi ll t ake back
        up to $100k of Vib ram. If you can get order in for w hatever else you want today we wi ll get return worked out after the
        weekend .


Exhibit C, Appx. at 45. On its face, Cordes’ offer clearly contemplated two transactions: (1) an

immediate order of new products and (2) a later return of products. The same day, Lipari accepted

Cordes proposed offer stating:

        Yes, we wilI return $1 00k of the Vi bram glove .
        My purchasing well send a PO for replacement gloves.

Exhibit C, Appx. at 44. The problem began when Action Specialties sent paperwork that did not

reflect the agreement previously reached between Cordes and Lipari, but instead erroneously

indicated the two separate transactions were an “exchange.” See Exhibit D, Appx. at 47.

Therefore, at Cordes direction, Mr. Felton corrected the “exchange” paperwork to reflect the actual

deal reached between the parties—a purchase and return. Correcting inaccurate paperwork is not


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fraudulent on its face.4 Moreover, the Plaintiff fails to allege whom, if anyone, was misled by Mr.

Felton’s “fraud” or how they were misled. In short, any claim based on Mr. Felton’s correction of

the Action Specialties’ paperwork must be dismissed.

                                          V.       CONCLUSION

        For the reasons stated above, Mr. Felton requests the Court strike Footnote 1 and dismiss

Plaintiff’s Complaint in its entirety. Mr. Felton also requests such other and further relief to which

he may be justly entitled.

Dated: June 15, 2020                                Respectfully Submitted,

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                                                    ATTORNEYS FOR THOMAS J. FELTON




4 Mr. Felton notes that if the SEC manages to state a claim against him in an amended pleading, the evidence will
reveal that Ironclad’s ordering system did not even have the ability to process an “exchange” transaction.


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                             CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that he communicated with counsel for the SEC, Jason
Reinsch, on June 15, 2020, who indicated that the SEC is opposed to the relief sought in the Motion
to Strike.

                                             /s/ David W. Klaudt
                                             David W. Klaudt


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on all parties that have appeared through the Court’s electronic filing
system on June 15, 2020.


                                             /s/ David W. Klaudt
                                             David W. Klaudt




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